    Case: 1:18-cv-05369 Document #: 18 Filed: 08/30/18 Page 1 of 2 PageID #:510



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UBIQUITI NETWORKS, INC.,                   )
                                           )
              Plaintiffs,                  )
                                           )
       v.                                  )      No. 18-CV-5369
                                           )
CAMBIUM NETWORKS, INC.                     )      Judge Feinerman
CAMBIUM NETWORKS, LTD.                     )
BLIP NETWORKS, INC.                        )
WINNCOM TECHNOLOGIES, INC.,                )
SAKID AHMED, and                           )
DMITRY MOISEEV,                            )
                                           )
              Defendants.                  )

                                   NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Wednesday, September 5, 2018, at 9:00 a.m., or as

soon thereafter as counsel shall be heard, Defendants shall appear before the Honorable Judge

Gary Feinerman or any judge sitting in his stead in Courtroom 2125 of the Northern District of

Illinois, Eastern Division, 219 South Dearborn St., Chicago, Illinois and shall present Agreed

Motion For An Extension Of Time Respond To Complaint.

                                                  Respectfully Submitted,

                                                  AMERICAN ENTERPRISE BANK

                                                  By:    /s/ James P. Fieweger
                                                         One of Its Attorneys

James P. Fieweger
Michael Best & Friedrich, LLP
444 West Lake Street, Suite 3200
Chicago, Illinois 60606
(312) 596-5849
jpfieweger@michaelbest.com
     Case: 1:18-cv-05369 Document #: 18 Filed: 08/30/18 Page 2 of 2 PageID #:511



                                CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2018, I electronically filed the foregoing Notice of
Motion with the Clerk of the Court using the CM/ECF system. I certify that all participants in the
case are registered CM/ECF users


                                             /s/ James P. Fieweger
000000-2088\24071756.1




                                                2
